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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiff,              )                     4:06CR3016
                                              )
              v.                              )
                                              )
ARMANDO GARCIA-DELACRUZ,                      )     ORDER ON MOTION FOR EXTENSION
                                              )     OF TIME TO FILE NOTICE OF APPEAL
                      Defendants.             )
                                              )


       The Motion for Extension of Time to File Notice of Appeal, ECF filing 237, is granted. Good
cause is shown in the motion. A notice of appeal may be filed on or before October 31, 2011.
       Dated October 20, 2011.

                                     BY THE COURT

                                     s/ Warren K. Urbom
                                     United States Senior District Judge
